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            EXHIBIT A
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                                   DAVID L. ROSENDORF
                                    Partner
                                     dlr@kttlaw.com                    305-377-0651


                                  David Rosendorf is a partner at Kozyak Tropin & Throckmorton. For more than 20 years
                                  David has focused his practice on representing parties in commercial bankruptcy matters
                                  and other insolvency-related litigation. David regularly advises corporate entities and
                                  individuals in pre-bankruptcy workouts and related matters, bankruptcy reorganizations
                                  and liquidations, involuntary bankruptcies, receiverships and assignments for the benefit
                                  of creditors, prosecution and defense of fraudulent transfer “clawback” actions and other
                                  claims brought by trustees and receivers, and post-bankruptcy matters. David’s practice
PRACTICE AREAS                    frequently involves litigation arising from Ponzi schemes and other frauds, as well as
Commercial Bankruptcy             insolvencies of a variety of businesses including condominium developers, asbestos
Fraud and Insolvency Related      manufacturers, viatical settlement providers, and companies in the hospitality industry,
Litigation                        among others. David’s experience with the intricacies of bankruptcy proceedings and
Corporate Restructuring           knowledge of bankruptcy law has made him particularly skilled in representing debtors,
Creditors’ Rights                 creditors and other constituencies in various bankruptcy-related litigation matters and
                                  appeals as well as complex collection matters.
Assignments for Benefit of
Creditors and Receiverships       David’s reputation extends beyond his legal expertise. David is a well-known food and
Complex Litigation                wine enthusiast and shares his passion for the culinary arts through his widely respected
Appeals                           food blog foodforthoughtmiami.com where he introduces his readers to local restaurants
                                  and provides commentary on established and rising star.
EDUCATION                         RESULTS
J.D., cum laude, University of    Bankruptcy
Miami School of Law
B.A., English, Emory University   David represents the largest creditor in the Chapter 11 bankruptcy of a South Florida
                                  based company that owned an asphalt refinery in Corpus Christi, Texas, and through
                                  vigorous pursuit of objections to the debtors’ initial proposed Plan and sale of the
                                  refinery, ultimately negotiated a consensual settlement and Plan that will provide a
                                  substantial payment to the client and resolution of related litigation among the parties.
                                  Complex Litigation
                                  David has a lead role in the bankruptcy proceedings arising from the billion-dollar Scott
                                  Rothstein Ponzi scheme, one of the largest Ponzi schemes in history and the largest in
                                  Florida. David was instrumental in fighting against the Chapter 11 plan that threatened
                                  the ability of fraud victims to recover their losses through civil actions against third
                                  parties, and in negotiating a favorable treatment for the investors in a confirmed
                                  consensual Chapter 11 plan.
                                  Appeals
                                  David has successfully litigated, and then successfully defended on appeal, two cases
KOZYAK                            decided by the Eleventh Circuit Court of Appeals addressing a creditor’s ability to assert
TROPIN                            an equitable lien against property claimed as exempt from the reach of creditors under
THROCKMORTON                      Florida’s homestead exemption.

2525 Ponce de Leon, 9 FL
Miami, Florida 33134


kttlaw.com
